         Case 1:18-cv-01622-TNM Document 106 Filed 09/05/18 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 FEDERAL TRADE COMMISSION,

                         Plaintiff,

                         v.                            Case No. 1:18-cv-01622 (TNM)

 TRONOX LIMITED et al.,
               Defendants.


                                              ORDER

        Upon consideration of the Plaintiff’s Motion for Preliminary Injunction, the pleadings,

relevant law, evidence, administrative record, and related legal memoranda and oral arguments

in opposition and in support, for the reasons set forth in the accompanying Memorandum

Opinion, the Court finds as follows:

        1. The Court has jurisdiction over the parties and subject matter of this case, and venue

             and service of process are proper;

        2. The Commission has made a sufficient showing of its likelihood of success on the

             merits to warrant preliminarily enjoining the proposed merger between the

             Defendants; and

        3. Weighing the equities, issuing an injunction is in the public interest. Therefore, it is

             hereby

        ORDERED that the Plaintiff’s Motion for Preliminary Injunction is GRANTED; and it

is further

        ORDERED that the Defendants are hereby enjoined, pursuant to Section 13(b) of the

Federal Trade Commission Act, 15 U.S.C. §53(b), from consummating the proposed merger, or
         Case 1:18-cv-01622-TNM Document 106 Filed 09/05/18 Page 2 of 2



otherwise effecting any combination of Tronox Limited and the National Titanium Dioxide

Company Limited, the National Industrialization Company, or Cristal USA, Incorporated, until

the Commission’s administrative complaint is dismissed by the Commission, set aside by an

appeals court on review, or the Commission has issued a final order pursuant to 15 U.S.C. §45;

and it is further

        ORDERED that the Defendants shall take all necessary steps to prevent any of their

officers, directors, domestic or foreign agents, divisions, subsidiaries, affiliates, partnerships, or

joint ventures from consummating, directly or indirectly, any such merger, or otherwise effecting

any combination between the Defendants; and it is further

        ORDERED that the Defendants shall maintain the status quo until a further order from

this Court, or until the Commission’s administrative complaint is dismissed by the Commission,

set aside by an appeals court on review, or the Commission has issued a final order pursuant to

15 U.S.C. §45.

        The Memorandum Opinion has been docketed under seal at this time due to the amount

of sealed information it contains. The Court will issue a separate, redacted version of the

Memorandum Opinion on the public docket shortly.

        SO ORDERED.

        This is a final, appealable Order.
                                                                            2018.09.05
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Dated: September 5, 2018                                TREVOR N. MCFADDEN
                                                        United States District Judge
